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                                                                                             E-FILED
                                                          Monday, 26 September, 2016 04:08:47 PM
                                                                     Clerk, U.S. District Court, ILCD

                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                 URBANA DIVISION

SHIMAAZ IVY,                                       )
                                                   )
                                                   )
                                                   )
                        Plaintiff,                 )
                                                   )
        v.                                         )      No.:
                                                   )
DOUGLAS BECKMAN, individually; and                 )       Plaintiff Demands a Trial by Jury
NATHANIEL PARK, individually,                      )
                                                   )
                                                   )
                                                   )
                        Defendants.                )
                                                   )

                                      COMPLAINT AT LAW

        NOW COMES the Plaintiff, SHIMAAZ IVY, by and through his attorneys,

ROMANUCCI & BLANDIN, LLC, and for Plaintiff’s Complaint at Law against Defendants,

DOUGLAS BECKMAN and NATHANIEL PARK, pleading hypothetically and in the

alternative, states as follows:

                                        THE PARTIES

        1.      Plaintiff SHIMAAZ IVY, an African American male, is a citizen of the United

States. At all relevant times, Plaintiff was a resident of the City of Urbana, Champaign County,

Illinois.

        2.      On and before January 1, 2015, and at all relevant times, THE BOARD OF

TRUSTEES OF THE UNIVERSITY OF ILLINOIS, maintained, as a division of said

corporation, a certain police department, commonly referred to as the University of Illinois

Police Department, in Champaign County, Illinois (hereinafter, collectively referred to as the



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“UNIVERSITY OF ILLINOIS Police Department”).

       3.     On and before January 1, 2015, and at all relevant times, Defendant DOUGLAS

BECKMAN (“Defendant BECKMAN”) was a University of Illinois Police Officer employed by

the Defendant UNIVERSITY OF ILLINOIS Police Department.

       4.     On and before January 1, 2015, and at all relevant times, when Defendant

BECKMAN was engaging in the complained of conduct, he was acting under color of law and in

the course of his employment as a University of Illinois Police Department Police Officer.

       5.     On and before January 1, 2015, and at all relevant times, Defendant

NATHANIEL PARK (“Defendant PARK”) was a University of Illinois Police Officer employed

by the Defendant UNIVERSITY OF ILLINOIS Police Department.

       6.     On and before January 1, 2015, and at all relevant times, when Defendant PARK

was engaging in the complained of conduct, he was acting under color of law and in the course

of his employment as a University of Illinois Police Department Police Officer.

                                 JURISDICTION AND VENUE

       7.     This is an action brought pursuant to pursuant to 42 U.S.C. § 1983, 42 U.S.C. §

1988, the Fourth and Fourteenth Amendments to the United States Constitution, against

Defendants, DOUGLAS BECKMAN and NATHANIEL PARK, after they violated Plaintiff,

SHIMAAZ IVY’s constitutional rights when they used excessive and unreasonable force against

him.


       8.     This Court has original jurisdiction over Plaintiff’s § 1983 claims pursuant to 28

U.S.C. §§ 1343(a)(3) and 1331.




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       9.      Venue is proper herein under 28 U.S.C. § 1391(b) since the parties reside, or, at

the time the events took place, formerly resided in this judicial district, and the events giving rise

to the claims asserted herein occurred here as well.


                                         JURY DEMAND


       10.     Plaintiff demands a trial by jury.


                           FACTS APPLICABLE TO ALL COUNTS

       11.     The instant case arose from events which took place in the parking lot of the

Village at Colbert Park apartment complex located at 1210 Village Park Way Savoy, Illinois

(hereinafter, “the Village at Colbert Park”).

       12.     At or about 1:00 A.M. on January 1, 2015, Plaintiff arrived at a New Years Eve

party at the Village at Colbert Park with Wayne Colson and four women in a white SUV

(hereinafter the “SUV”).

       13.     On January 1, 2015, prior to Plaintiff’s arrival at the party, residents from the

Village at Colbert Park reported hearing gun shots.

       14.     Upon information and belief, on January 1, 2015, when residents reported hearing

shots fired, there were no reports of individuals firing gunshots in a violent manner nor were

there any reports of individuals wounded by gunshots.

       15.     At or about 1:18 A.M. on January 1, 2015, Defendant BECKMAN and PARK

arrived at the Village at Colbert Park in response to the call of shots fired.

       16.     At or about 1:18 A.M. on January 1, 2015, Defendant BECKMAN and PARK

parked their service vehicle approximately 50 yards away facing the apartment complex building

with the most commotion.



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        17.     At or about 1:19 A.M. Defendant police officers, DOUGLAS BECKMAN and

NATHANIEL PARK, stated that they were going to “gear up” and armed themselves with AR-

15 assault rifles.

        18.     At said time, Defendant police officers were never told any violent crime had

been committed and/or that any individuals were in danger of death or serious bodily harm.

        19.     At said time, Defendant police officers did not witness any violent crime and/or

that any individuals were in danger of death or serious bodily harm.

        20.     At or about 1:18 A.M. on January 1, 2015, Plaintiff walked outside of an

apartment at the Village at Colbert Park, along with Wayne Colson and four young women.

        21.     As Plaintiff and Wayne Colson walked to one of the women’s SUV, they were

attacked by a group of 5-10 males from the party who began to aggressively punch, kick and

grab Plaintiff and Wayne Colson.

        22.     Plaintiff and Wayne Colson were viciously attacked and outnumbered by the

group of males from the party.

        23.     At or about 1:19:50 A.M. on January 1, 2015 Defendants PARK and BECKMAN

witnessed the brutal attack and stated “you gotta be kidding me.”

        24.     At or about 1:20:16 A.M. on January 1, 2015, in self-defense, Wayne Colson

pulled out a firearm and fired warning shots into the air to thwart the attackers. No person was

injured in the shooting.

        25.     After the warning shots, Plaintiff and Wayne Colson continued to the women’s

vehicle.

        26.     Specifically, Plaintiff got into the third row of seats of the women’s vehicle and

Wayne Colson got into the middle row of seats on the passenger side of the vehicle.



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       27.     Defendant police officers, DOUGLAS BECKMAN and NATHANIEL PARK

shouted “right there!” and witnessed the group of females, Wayne Colson, and Plaintiff

SHIMAAZ IVY enter the vehicle.

       28.     Defendant police officers, DOUGLAS BECKMAN and NATHANIEL PARK

were aware that Plaintiff, SHIMAAZ IVY, was in the vehicle.

       29.     At or about 1:20:25 A.M. on January 1, 2015, Defendant police officers,

DOUGLAS BECKMAN and NATHANIEL PARK, immediately approached the SUV from the

rear with their AR-15 service weapons already drawn and yelled “drop it now!” three times.

       30.     Approximately ten seconds after Wayne Colson fired warning shots in the air, at

or about 1:20:28 A.M. on January 1, 2015, Defendant police officers, DOUGLAS BECKMAN

and NATHANIEL PARK fired approximately 20 shots from their AR-15 service weapons

indiscriminately into the SUV, hitting Plaintiff, SHIMAAZ IVY and the SUV.

       31.     After yelling “drop it now,” Defendants BECKMAN and PARK immediately

fired approximately 20 shots into the SUV in which Defendants knew contained innocent

bystanders.

       32.     At no time once Colson entered the vehicle did he fire the gun or point the gun at

Defendants BECKMAN and PARK.

       33.     Defendants BECKMAN and PARK did not provide an opportunity for the

individuals in the SUV to comply with their orders before firing approximately 20 shots from

their AR-15 service weapons indiscriminately into the SUV.

       34.     At all relevant times, Defendants BECKMAN and PARK did not have a valid

warrant to arrest Plaintiff or the female passengers.




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        35.     At all relevant times, the actions of Defendants BECKMAN and PARK were

undertaken recklessly and without probable cause to believe Plaintiff or the other female

passengers and driver had committed any crime.

        36.     As a result of Defendants BECKMAN and PARK’s actions, Plaintiff’s body was

struck two times with the Defendants’ bullets.

        37.     After Plaintiff was struck by numerous bullets, Defendants BECKMAN and

PARK handcuffed Plaintiff and arrested him.

        38.     At no time did Plaintiff ever display a weapon to Defendants BECKMAN and

PARK or others.

        39.     At no time did Plaintiff or passengers threaten to use physical force upon the

Defendants BECKMAN and PARK.

        40.     At no time did Plaintiff use physical force upon Defendants BECKMAN and

PARK or others.

        41.     At no time did Defendants BECKMAN and PARK and/or any other law

enforcement personnel find any weapons on Plaintiff’s person.

        42.     Defendants BECKMAN and PARK did not have probable cause to believe

Plaintiff posed a significant threat of death or serious physical injuries to Defendant police

officers or others.

        43.     At no time did was the SUV involved in a crime.

        44.     At no time was the SUV used as a weapon against Defendants BECKMAN and

PARK or others.

        45.     At no time did the driver and occupants of the SUV use physical force upon

Defendants BECKMAN and PARK or others.



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       46.     At no time did Defendants BECKMAN and PARK and/or any other law

enforcement personnel find any weapons on the driver of the SUV or female passengers’ person.

       47.     Defendant police officers did not have probable cause to believe the driver of the

SUV or the female occupants posed a significant threat of death or serious physical injuries to

Defendant police officers or others.

       48.     Deadly force was not necessary to prevent Plaintiff’s escape.

       49.     Plaintiff was not charged with any crime related to this incident.

                        COUNT I – 42 U.S.C. §1983—Excessive Force
                               (Ivy v. Beckman and Park)

       50.     Plaintiff incorporates by reference all preceding paragraphs

       51.     At all relevant times, Defendant Officers BECKMAN and PARK were authorized

officers, agents, and employees of the University of Illinois Police Department and the

UNIVERSITY OF ILLINOIS and were acting in the course of their employment.

       52.     That at all times relevant hereto, it was the duty of Defendant Officers

BECKMAN and PARK individually and as officers, agents and/or employees of the

UNIVERSITY OF ILLINOIS Police Department, to refrain from using unreasonable excessive

force against others, including Plaintiff SHIMAAZ IVY.

       53.     On January 1, 2015, in breach of said duty, Defendant Officers BECKMAN and

PARK used unreasonable and excessive force in violation of the United States Constitution by

engaging in the following acts or omissions:

               a. BECKMAN and PARK pointed their weapons at Plaintiff under
                  circumstances where Plaintiff posed no threat or danger either to the Officers
                  or the public;

               b. BECKMAN and PARK placed their finger on the trigger of their service
                  weapons while pointing their weapons at Plaintiff under circumstances where
                  Plaintiff posed no threat or danger either to the Officers or the public;


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                c. BECKMAN and PARK fired approximately 20 shots at Plaintiff from their
                   service weapons at an SUV filled with people under circumstances where
                   Plaintiff posed no threat or danger either to the Officers or the public;

                d. BECKMAN and PARK used a level of force that they knew, or should have
                   known, was excessive when they, among other things, shot at Plaintiff
                   approximately 20 times without proper justification;

                e. BECKMAN and PARK used an unreasonable amount of force in relationship
                   to the threat or force posed by the Plaintiff, who was not resisting any lawful
                   arrest or threatening the life or safety of any police officers or the public;

                f. BECKMAN and PARK used excessive force in violation of the University of
                   Illinois Police Department’s policy which expressly prohibits use of excessive
                   force;

                g. BECKMAN and PARK failed to use less dangerous means of restraint; and/or

                h. BECKMAN and PARK failed to follow proper police procedures and adhere
                   to a use of force continuum consistent with that used by law enforcement
                   agencies in Illinois.

        54.     At all times relevant, the aforementioned conduct of Defendants BECKMAN and

PARK constituted unreasonable excessive force in violation of the United States Constitution.

        55.     The actions of Defendants BECKMAN and PARK were objectively unreasonable

and were undertaken intentionally with willful indifference to Plaintiff SHIMAAZ IVY’s

constitutional rights.

        56.     The actions of Defendants BECKMAN and PARK would not be considered

reasonable by a reasonably competent police officer in the circumstances presented at the time

that Defendants BECKMAN and PARK used such force.

        57.     The actions of Defendants BECKMAN and PARK were undertaken with malice,

willfulness, and reckless indifference to the rights of Plaintiff SHIMAAZ IVY.

        58.     As a proximate cause of Defendant’s unreasonable and excessive use of force,

SHIMAAZ IVY experienced injuries, including physical and psychological pain and suffering.


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        WHEREFORE, Plaintiff, SHIMAAZ IVY, respectfully requests that this Court enter

judgment against Defendants DOUGLAS BECKMAN and NATHANIEL PARK awarding

compensatory damages, including medical expenses, special damages, punitive damages,

attorneys’ fees and costs pursuant to 42 USC § 1988, and any further relief this Court deems just.




                         COUNT II – 42 U.S.C. §1983 – Failure to Intervene
                                          (Ivy v. Park)

        59.     Plaintiff SHIMAAZ IVY hereby adopts and re-alleges Paragraphs 1 through 58 as

and for Paragraphs 1 through 58 of Count II as though fully set forth herein.

        60.     On January 1, 2015, the aforementioned conduct of Defendants DOUGLAS

BECKMAN excessive force in violation of the United States Constitution.

        61.     The aforementioned conduct of Defendants DOUGLAS BECKMAN was

objectively unreasonable.

        62.     The aforementioned acts of Defendants DOUGLAS BECKMAN were undertaken

intentionally, willfully, with malice, and with reckless indifference to IVY’s constitutional rights.

        63.     Throughout the January 1, 2015 encounter with SHIMAAZ IVY, Defendant

NATHANIEL PARK had knowledge that the aforementioned conduct Defendants DOUGLAS

BECKMAN constituted unreasonably excessive force under the United States Constitution.

        64.     Throughout the January 1, 2015 encounter with SHIMAAZ IVY, Defendant

NATHANIEL PARK had knowledge that IVY’s constitutional rights were being violated.

        65.     Throughout the January 1, 2015 encounter with January 1, 2015, Defendant

NATHANIEL PARK had a realistic opportunity to intervene and prevent deprivation of IVY’s

constitutional rights.


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       66.      As a result of Defendant NATHANIEL PARK’s failure to intervene, Plaintiff

SHIMAAZ IVY was deprived of his liberty and suffered damages, including physical and

emotional injuries.

       WHEREFORE, Plaintiff, SHIMAAZ IVY, respectfully requests that this Court enter

judgment against NATHANIEL PARK awarding compensatory damages, including medical

expenses, special damages, punitive damages, attorneys’ fees and costs pursuant to 42 USC §

1988, and any further relief this Court deems just.

                      COUNT III – 42 U.S.C. §1983 – Failure to Intervene
                                      (Ivy v. Beckman)

       67.      Plaintiff SHIMAAZ IVY hereby adopts and re-alleges Paragraphs 1 through 58 as

and for Paragraphs 1 through 58 of Count III as though fully set forth herein.

       68.      On January 1, 2015, the aforementioned conduct of Defendants NATHANIEL

PARK constituted excessive force in violation of the United States Constitution.

       69.      The aforementioned conduct of Defendants NATHANIEL PARK was objectively

unreasonable.

       70.      The aforementioned acts of Defendants NATHANIEL PARK were undertaken

intentionally, willfully, with malice, and with reckless indifference to IVY’s constitutional rights.

       71.      Throughout the January 1, 2015 encounter with SHIMAAZ IVY, Defendant

DOUGLAS BECKMAN had knowledge that the aforementioned conduct Defendant

NATHANIEL PARK constituted unreasonably excessive force under the United States

Constitution.

       72.      Throughout the January 1, 2015 encounter with SHIMAAZ IVY, Defendant

DOUGLAS BECKMAN had knowledge that IVY’s constitutional rights were being violated.




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       73.     Throughout the January 1, 2015 encounter with January 1, 2015, Defendant

DOUGLAS BECKMAN had a realistic opportunity to intervene and prevent deprivation of

IVY’s constitutional rights.

       74.     As a result of Defendant DOUGLAS BECKMAN’s failure to intervene, Plaintiff

SHIMAAZ IVY was deprived of his liberty and suffered damages, including physical and

emotional injuries.

       WHEREFORE, Plaintiff, SHIMAAZ IVY, respectfully requests that this Court enter

judgment against DOUGLAS BECKMAN awarding compensatory damages, including medical

expenses, special damages, punitive damages, attorneys’ fees and costs pursuant to 42 USC §

1988, and any further relief this Court deems just.

                      COUNT I – 42 U.S.C. §1983—Substantive Due Process
                                  (Ivy v. Beckman and Park)

       75.     Plaintiff incorporates by reference all preceding paragraphs

       76.     At all relevant times, Defendant Officers BECKMAN and PARK were authorized

officers, agents, and employees of the University of Illinois Police Department and the

UNIVERSITY OF ILLINOIS and were acting in the course of their employment.

       77.     That at all times relevant hereto, it was the duty of Defendant Officers

BECKMAN and PARK individually and as officers, agents and/or employees of the

UNIVERSITY OF ILLINOIS Police Department, to refrain from using unreasonable excessive

force against others, including Plaintiff SHIMAAZ IVY, in violation his right to bodily integrity.

       78.     On January 1, 2015, in breach of said duty, Defendant Officers BECKMAN and

PARK used unreasonable and excessive force against Plaintiff, SHIMAAZ IVY, in violation of

his rights secured to him by the Fourteenth Amendment of the United States Constitution by

engaging in the following acts or omissions:


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              a. BECKMAN and PARK pointed their weapons at Plaintiff under
                 circumstances where Plaintiff posed no threat or danger either to the Officers
                 or the public;

              b. BECKMAN and PARK placed their finger on the trigger of their service
                 weapons while pointing their weapons at Plaintiff under circumstances where
                 Plaintiff posed no threat or danger either to the Officers or the public;

              c. BECKMAN and PARK fired approximately 20 shots at Plaintiff from their
                 service weapons at an SUV filled with people under circumstances where
                 Plaintiff posed no threat or danger either to the Officers or the public;

              d. BECKMAN and PARK used a level of force that they knew, or should have
                 known, was excessive when they, among other things, shot at Plaintiff
                 approximately 20 times without proper justification;

              e. BECKMAN and PARK used an unreasonable amount of force in relationship
                 to the threat or force posed by the Plaintiff, who was not resisting any lawful
                 arrest or threatening the life or safety of any police officers or the public;

              f. BECKMAN and PARK used excessive force in violation of the University of
                 Illinois Police Department’s policy which expressly prohibits use of excessive
                 force;

              g. BECKMAN and PARK failed to use less dangerous means of restraint; and/or

              h. BECKMAN and PARK failed to follow proper police procedures and adhere
                 to a use of force continuum consistent with that used by law enforcement
                 agencies in Illinois.

       79.    At all times relevant, the aforementioned conduct of Defendants BECKMAN and

PARK constituted unreasonable excessive force in violation of the United States Constitution.

       80.    At all times relevant, the aforementioned actions of Defendants BECKMAN and

PARK were undertaken with the purpose to cause harm to Plaintiff, SHIMAAZ IVY.

       81.    At all times relevant, the aforementioned actions of Defendants BECKMAN and

PARK were conscious shocking.




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        82.     The actions of Defendants BECKMAN and PARK were objectively unreasonable

and were undertaken intentionally with willful indifference to Plaintiff SHIMAAZ IVY’s

constitutional rights.

        83.     The actions of Defendants BECKMAN and PARK would not be considered

reasonable by a reasonably competent police officer in the circumstances presented at the time

that Defendants BECKMAN and PARK used such force.

        84.     The actions of Defendants BECKMAN and PARK were undertaken with malice,

willfulness, and reckless indifference to the rights of Plaintiff SHIMAAZ IVY.

        85.     As a proximate cause of Defendant’s unreasonable and excessive use of force,

SHIMAAZ IVY experienced injuries, including physical and psychological pain and suffering in

violation of his right to bodily integrity secured to him by the Fourteenth Amendment of the

United States Constitution.

        WHEREFORE, Plaintiff, SHIMAAZ IVY, respectfully requests that this Court enter

judgment against Defendants DOUGLAS BECKMAN and NATHANIEL PARK awarding

compensatory damages, including medical expenses, special damages, punitive damages,

attorneys’ fees and costs pursuant to 42 USC § 1988, and any further relief this Court deems just.



                                                    Respectfully Submitted,
                                                    ROMANUCCI & BLANDIN, LLC


                                                     ___     s/Michael E. Holden______
                                                            Attorney for Plaintiff


Antonio M. Romanucci
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